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                                                                                               Reply to:
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AMMAR S. WASFI, ESQUIRE
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                                      September 28, 2020

Via E-Filing
The Honorable Alvin K. Hellerstein
United States District Court
Southern District of New York
Daniel Patrick Moynihan
United States Courthouse
500 Pearl Street
New Yark, NY 10007

       RE:     Hamill v. Twin Cedars Senior Living, et al.
               U.S. District Court, Southern District of New York
               Case No.: 1:20-mc-00228

Dear Judge Hellerstein:

       Pursuant to the enclosed Order entered in the underlying action in the U.S . District Court
for the Middle District of Pennsylvania, Plaintiff will be withdrawing her Motion to Quash
Defendants' Subpoenas, which had been filed in this Court on June 10, 2020.

        Thank you for the Court's attention to this matter, and should Your Honor need anything
further, I stand ready to respond.


                                                    Respectfully,

                                                     ~~s:w~
                                                    AMMAR S. WASFI, ESQUIRE

ASW/emd
Enclosure                                             ~ oQ.d-e.xze_c\ . \Y\e_ (,\e((_ 'SV'O.\\
cc:    Via Electronic Correspondence:
       John M. Campbell, Esquire
                                                    Clo~ ¼e qen mcMon (cCt                                 ~.1)
       Donald Wall, Esquire                        o.ttd +-eernifb..-\:e -rV1e ccue.
       Michael Bootier, Esquire



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